UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MASSAPEQUA UNION FREE SCHOOL DISTRICT,
MASSAPEQUA UNION FREE SCHOOL DISTRICT BOARD
OF EDUCATION, JEANINE CARAMORE, in her capacity as a                    2:23-cv-07052
Board of Education Member and a Resident/Parent of the School           (SJB/LGD)
Community,
                                                    Plaintiffs,
             -against-

NEW YORK STATE BOARD OF REGENTS, LESTER W.
YOUNG, JR, in his official capacity as Chancellor of the New
York State Board of Regents, JUDITH CHIN, in her official
capacity as Vice Chancellor of the New York State Board of
Regents, ROGER TILLES, in his official capacity as a member of
the New York State Board of Regents, CHRISTINE D. CEA, in
her official capacity as a member of the New York State Board of
Regents, WADE S. NORWOOD, in his official capacity as a
member of the New York State Board of Regents, SUSAN W.
MITTLER, in her official capacity as a member of the New York
State Board of Regents, FRANCES G. WILLS, in her official
capacity as a member of the New York State Board of Regents,
ARAMINA VEGA FERRER, in her official capacity as a member
of the New York State Board of Regents, SHINO TANIKAWA, in
her official capacity as a member of the New York State Board of
Regents, ROGER P. CATANIA, in his official capacity as a
member of the New York State Board of Regents, ADRIAN I.
HALE, in his official capacity as a member of the New York State
Board of Regents, HASONI L. PRATTS, in her official capacity
as a member of the New York State Board of Regents, PATRICK
A. MANNION, in his official capacity as a member of the New
York State Board of Regents, SEEMA RIVERA, in her official
capacity as a member of the New York State Board of Regents,
BRIAN KRIST, in his official capacity as a member of the New
York State Board of Regents, KEITH B. WILEY, in his official
capacity as a member of the New York State Board of Regents, and
FELICIA THOMAS-WILLIAMS, in her official capacity as a
member of the New York State Board of Regents, 1
                                                     Defendants.




       1
          Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, the names of the Regents,
all sued in their official capacity only, who are no longer serving have been removed and replaced
with the current Regents. See https://www.regents.nysed.gov/members.
                    MEMORANDUM OF LAW IN OPPOSTION TO
                   MOTION FOR LEAVE TO AMEND COMPLAINT


                                           LETITIA JAMES
                                           Attorney General
                                           State of New York
                                           Attorney for Defendants


Helena Lynch
Assistant Attorney General

Rakim Johnson
Assistant Attorney General
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       Defendants respectfully submit this memorandum of law in opposition to Plaintiffs’ motion

for leave to file their Second Amended Complaint.

                                PRELIMINARY STATEMENT

       Plaintiffs, Massapequa Union Free School District (the “District”), the Massapequa Union

Free School District Board of Education (the “Board”), and school board member Jeanine

Caramore, seek to revive their unsuccessful challenge to Part 123 of the Regulations of the

Commissioner of Education, N.Y. Comp. Codes R. & Regs. tit. 8 (“8 NYCRR”) §§ 123.1-123.5

(“Part 123”). Part 123 prohibits New York State public school districts from using Indigenous

names, logos, or mascots to represent their respective schools, primarily in the context of

interscholastic sports, while allowing their use for classroom instruction. Plaintiffs seek leave to

amend their most recently operative pleading, the “Amended and Verified Complaint and

Petition,” Docket Entry (“DE”) 24 (“Amended Complaint” or “Am. Compl.”), to add several new

causes of action.

       Defendants adopted Part 123 to further the “state interest in providing a safe and supportive

learning environment for every child.” 2023 NY REG TEXT 631927 (“Notice of Adoption,”

annexed as Exhibit 1 to Declaration of Helena Lynch (“Lynch Decl.”) at 2. In adopting Part 123,

SED cited an overview of academic studies that addressed the use of Native American mascots.

Every study reviewed concluded either that the use of Native American mascots had negative

effects on Native Americans or that such mascots activated, reflected, or reinforced stereotyping

and prejudice among non-Native persons. Id. at 2-3.

       In a Memorandum and Order dated March 27, 2025 (“Dismissal Order,” DE 60), the Court

granted Defendants’ motion to dismiss all then-remaining claims in the Amended Complaint. See,

e.g., Dismissal Order at 88-89. The Court allowed Plaintiff Caramore, in her personal capacity
only, leave to amend her First Amendment and overbreadth claims. Id. at 52, 70. Plaintiffs,

however, by their motion and Proposed Second Amended Complaint (“PAC”), now seek leave to

reinvent the litigation by adding causes of action asserting that Part 123: (1) is overbroad in

violation of the First Amendment (first cause of action, PAC ¶¶ 117-126) and violates the First

Amendment rights of incumbent and non-tribal member candidates for the Board (third cause of

action, PAC ¶¶ 169-182), asserted by the District, the Board, and Caramore in her official capacity 2

(the Board and Caramore in her official capacity, collectively, the “Board Plaintiffs”); (2) is

preempted by Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d (fourth cause of action,

PAC ¶¶ 184-213); (3) is preempted by Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-

2(a)(1) (fifth cause of action, PAC ¶¶ 215-231); (4) is preempted by 42 U.S.C. § 1981 (sixth cause

of action, PAC ¶¶ 233-246); (5) is preempted by the dormant Commerce Clause, U.S. Const. art.

I, § 8, cl. 3 (seventh cause of action, PAC ¶¶ 248-261); (6) is preempted by the Indian Commerce

Clause, U.S. Const. art. I, § 8, cl. 3 (eighth cause of action, PAC ¶¶ 263-276); and (7) violates the

state Bill of Attainder Clause, U.S. Const. art. I, § 10, cl. 1 (ninth cause of action, PAC ¶¶ 278-

291).

        Plaintiffs’ motion to amend should be denied. First, Plaintiffs have filed a notice of appeal

in this matter, see DE 62, depriving this Court of jurisdiction. Second, Plaintiffs’ motion is

prejudicial and tainted with bad faith. Plaintiffs belatedly seek to reinvent their case and have even

reversed their position on certain issues. In addition, Plaintiffs should not be permitted to amend

based on newly manufactured facts, including their May 15, 2025 contract with the Native




        2
         As explained below, see infra, Point III(A), Plaintiffs have provided conflicting
information as to which parties are asserting the third cause of action.
                                                  2
American Guardians Association (“NAGA”). Finally, Plaintiffs’ motion should be denied as futile

because none of the proposed new claims would survive a motion to dismiss.

           CHALLENGED REGULATION: TEXT AND NOTICE OF ADOPTION

       Part 123: Part 123 provides that, with one exception, “no public school in the State of New

York may utilize or display an Indigenous name, logo, or mascot other than for purposes of

classroom instruction.” 8 NYCRR § 123.2. A single exception was created to account for certain

already-existing agreements between a school district and a recognized nation: Id. § 123.4.

       Boards of education are required to comply with Part 123 by the end of the 2024-2025

school year. Id. § 123.3(a). Public schools are also required to “prohibit school officers and

employees when located on school property or at a school function from utilizing or promoting

any Indigenous name, logo, or mascot.” Id. § 123.5. This prohibition does not apply to school

officers or employees who are members of a tribal nation. Id.

       Notice of Adoption: The Notice of Adoption sets forth the anti-discriminatory State interest

underlying Part 123, first set forth in a 2001 memo issued by then-Commissioner Mills, which

concluded that “the use of Native American symbols or depictions as mascots can become a barrier

to building a safe and nurturing school community and improving academic achievement for all

students.” Notice of Adoption at 2. Commissioner Mills recognized the “state interest in providing

a safe and supportive learning environment for every child.” Id.

       The adoption of Part 123 effectively codifies a June 2022, Albany Supreme Court decision,

Cambridge Central School District v. N.Y. State Education Dep’t, Index No. 902161-22 (Sup. Ct.

Albany Cnty.) (Decision/Order/Judgment, June 21, 2022) (the “Cambridge Decision,” annexed as

Exhibit 2 to Lynch Decl.), 3 that upheld a determination by the Commissioner of Education in



       3
           The Cambridge Decision is a court document and may be considered in the context of
                                                3
Appeal of McMillan, Decision No. 18,058 (annexed as Exhibit 3 to Lynch Decl.”). 4 In Appeal of

McMillan, the Commissioner determined that the decision by the Board of Education of the

Cambridge Central School District to continue to use its “Indians” team name and logo was

arbitrary and capricious and an abuse of discretion. Appeal of McMillan at 6.

        The Cambridge Decision, as SED noted, “establishes that public schools are prohibited

from utilizing Indigenous mascots.” Notice of Adoption at 3. SED cited to the academic studies

which unanimously demonstrate the harmful effects of the use of Indigenous mascots on school

children. Id.

                                           ARGUMENT

POINT I:        THE COURT LACKS JURISDICTION OVER THIS MOTION DUE TO
                PLAINTIFFS’ NOTICE OF APPEAL

        The Second Circuit has repeatedly held that a district court lacks jurisdiction over an

amended complaint where the plaintiff has already filed a notice of appeal with the circuit court.

See, e.g., Hernandez v. Coughlin, 18 F.3d 133, 138 (2d Cir. 1994); Segal v. Gordon, 467 F.2d 602,

608 n.12 (2d Cir. 1972); Denny v. Barber, 576 F.2d 465, 471 (2d Cir. 1978). To the extent Plaintiffs

are taking steps to withdraw their appeal, the Court remains without jurisdiction while the appeal

is pending.




examining the pleadings. See Fed. R. Evid. 201(b)(2), (c)(1); Rothman v. Gregor, 220 F.3d 81, 92
(2d Cir. 2000). The court can also consider the record in Cambridge, see id., parts of which are
submitted as Exhibits 4-10 to the Lynch Declaration.
        4
         The Court may also take judicial notice of the content of the Appeal of McMillan decision,
which is part of the record in the Cambridge matter. Id.; see also Liberty Mut. Ins. Co. v. Rotches
Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir. 1992) (“A court may take judicial notice of a
document filed in another court . . . to establish the fact of such litigation and related filings.”).
                                                  4
       Other circuits have concurred in this assessment. See, e.g., Thompson v. Harry C. Erb, Inc.,

240 F.2d 452, 454 (3d Cir. 1957); Droppleman v. Horsely, 372 F.2d 249, 250 (10th Cir. 1967);

Grand Opera Co. v. Twentieth Century-Fox Film Corp., 235 F.2d 303, 308 (7th Cir. 1956).

       Only the Second Circuit could grant Plaintiffs permission to move to amend before this

Court. See Denny, 576 F.2d at 471 (“[T]his court, if so advised, could itself now grant leave to

amend or remand to the district court to allow amendment, . . . or affirm the dismissal without

prejudice to the district court’s entertaining an application to amend.”); see also Moviecolor Ltd.

v. Eastman Kodak Co., 288 F.2d 80, 88 (2d Cir. 1961) (noting its power to affirm dismissal without

prejudice to district court’s entertaining a motion to amend).

       Accordingly, the Court lacks jurisdiction over Plaintiffs’ motion.

POINT II:      PLAINTIFFS’ MOTION TO ADD PROPOSED CAUSES OF ACTION
               FOUR THROUGH NINE SHOULD BE DENIED AS PREJUDICIAL AND
               MADE IN BAD FAITH

       “While Federal Rule of Civil Procedure 15(a) states that leave to amend should be granted

when justice so requires, motions to amend should generally be denied in instances of futility,

undue delay, bad faith or dilatory motive, repeated failure to cure deficiencies by amendments

previously allowed, or undue prejudice to the non-moving party.” Burch v. Pioneer Credit

Recovery, Inc., 551 F.3d 122, 126 (2d Cir. 2008).

       “[A] court properly denies leave to amend where the motion is made after an inordinate

delay, no satisfactory explanation is offered for the delay, and the amendment would prejudice

other parties.” Grace v. Rosenstock, 228 F.3d 40, 53-54 (2d Cir. 2000) (internal quotation marks

omitted); DeCastro v. City of New York, No. 16-Cv-3850, 2020 WL 4932778, at *10 (S.D.N.Y.

Aug. 24, 2020); see also Thompson v. Elev8 Ctr. New York, LLC, No. 20 Civ. 9581, 2023 WL

6311591, at *12 (S.D.N.Y. Sept. 28, 2023) (a court “may deny a motion to amend when the movant



                                                 5
knew or should have known of the facts upon which the amendment is based when the original

pleading was filed, particularly when the movant offers no excuse for the delay” (internal quotation

marks omitted)).

       Several factors demonstrate that Defendants would experience undue prejudice if the Court

were to allow Plaintiffs to add their proposed fourth through ninth causes of action. The first factor

is the late stage of the litigation. Plaintiffs have already amended their complaint once, and

discovery closed in September 2024. See DE 46. Defendants’ motion to dismiss was fully briefed

and decided in their favor, following oral argument. See generally Dismissal Order. The Court

granted leave to replead only two specific claims: the First Amendment and overbreadth claims

asserted solely by Plaintiff Caramore in her personal capacity. 5 Plaintiffs should not be permitted

to remake this entire case more than a year and a half after its commencement and after all claims

have been dismissed.

       The second factor establishing prejudice is the fact that Part 123’s effective date is the close

of the 2024-2025 school year, see NYCRR §123.3(a), a fact Plaintiffs have known for more than

two years, see, e.g., Am. Compl. (DE 24) ¶¶ 66, 82, 87; see also original Complaint dated Sept.

22, 2023 (DE 2). Plaintiffs’ attempt to reinvent their case at this late juncture should be rejected.

See Presbyterian Church Of Sudan v. Talisman Energy, Inc., 582 F.3d 244, 267 (2d Cir. 2009)

(affirming denial of motion to amend where proposed amended complaint would “dramatically

alter the plaintiffs’ theories of liability and the focus of the entire case” (internal quotation mark

and alteration omitted)); McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 202 (2d Cir. 2007)

(affirming denial of motion to amend where plaintiffs sought to amend “after an inordinate delay,”



       5
         The deadline for Plaintiff Caramore to re-plead her personal capacity claims is stayed
pending the resolution of this motion. See Docket Order dated May 8, 2025. Therefore, Defendants
do not respond herein to any personal capacity claims that may be asserted by Plaintiff Caramore.
                                                  6
at which time “discovery had closed . . . and nearly two years had passed since the filing of the

original complaint”); Grochowski v. Phoenix Const., 318 F.3d 80, 86 (2d Cir. 2003) (affirming

denial of leave to amend where “plaintiffs delayed more than one year before seeking to amend

their complaint” and discovery was complete). As the Court has already ruled, even if Plaintiff

Caramore were to prevail on her First Amendment claims, only section 123.5 would be affected.

See Dismissal Order at 70, n.26. The requirements of sections 123.1, 123.2, and 123.3 would not

be in question, and Plaintiffs should not be permitted to use prejudicial tactics to disrupt the

implementation of those regulations.

       Plaintiffs’ arguments that Defendants will not be prejudiced by the proposed new claims

are conclusory and unpersuasive. Plaintiffs assert that any new discovery would be limited, Pl.’s

Mem. at 11, but they omit any mention of potential discovery on their fourth through ninth causes

of action, six entirely new claims that are unrelated to any First Amendment claims. Plaintiffs also

argue that Defendants will not be prejudiced by the addition of the proposed new claims because

Defendants did not take discovery earlier in this matter, id. at 10, but Plaintiffs fail to mention that

Defendants expended resources responding to overly broad and burdensome discovery demands

by Plaintiffs. See Letter dated July 2, 2024 (DE 36) (setting forth the unduly broad scope and

burdensome nature of discovery sought). 6 Defendants will necessarily be required to expend

additional resources if Plaintiffs seek further discovery.

       Plaintiffs originally alleged that Native American Tribes or individuals should not be

decision-makers as to whether a school district’s use of Indigenous names or imagery is legal or

not. See Compl. (DE 2) ¶ 100; Am. Compl. (DE 24) ¶ 97. Plaintiffs have reversed course, now




       6
        Defendants’ motion to stay discovery was denied without prejudice because it was not
submitted as a joint motion. See text Order dated Jul 3, 2024.
                                                   7
asserting that, as of May 15, 2025, NAGA should be the sole decision-maker as to whether

Plaintiffs may continue to use the “Chiefs” name and imagery. See PAC ¶¶ 100-115. Plaintiffs also

originally objected that the tribal agreement exception (8 NYCRR § 124(b)) was “not appropriate”

because the contracting tribe “may or may not represent the actual interests of the school’s Native

American constituents.” Compl. ¶ 98; Am. Compl. ¶ 98. Plaintiffs again reverse course and now

propose that NAGA be the sole and unilateral representative of the interests of the District’s Native

American constituents.

       The new facts cited by Plaintiffs were manufactured by them only recently, which is not

only prejudicial to Defendants but also evinces bad faith. Plaintiffs allege that the District entered

into a contract with NAGA on May 15, 2025, see PAC ¶¶ 100-115, a week after Plaintiffs sought

an extension of time to move to amend. See DE 65. This new fact is entirely manufactured by

Plaintiffs and is a complete surprise to Defendants. Accordingly, insofar as the proposed new

claims are based on the newly created contract between the District and NAGA, Plaintiffs’ bad-

faith tactics support denial of leave to add these claims.

POINT III:     PLAINTIFFS’ MOTION SHOULD BE DENIED AS FUTILE BECAUSE
               THE NEWLY PROPOSED CAUSES OF ACTION WOULD NOT SURVIVE
               A MOTION TO DISMISS

       Defendants are familiar with the Court’s Individual Practice Rule VI(I)(2). Defendants

respectfully submit that the circumstances presented here warrant a futility analysis.

   A. Plaintiffs’ proposed First Amendment overbreadth and free speech claims (first and
      third causes of action) would not survive a motion to dismiss insofar as they are
      asserted by the District or the Board Plaintiffs

       1. The District and Board Plaintiffs lack capacity to assert an overbreadth challenge
          to Part 123.

       The District and Board Plaintiffs’ proposed amended overbreadth claims suffer from the

same infirmities that the Court identified in dismissing their initial overbreadth claims—that the

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District and Board Plaintiffs lack capacity to assert such claims. In the Dismissal Order, the Court

explained that “New York law provides that ‘municipalities and other local governmental

corporate entities and their officers lack capacity to mount constitutional challenges to acts of the

State and State legislation.’” See Dismissal Order at 20 (quoting City of New York v. State of New

York, 86 N.Y.2d 286, 289 (1995)). The Court then noted that the New York Court of Appeals has

recognized only four “narrow” exceptions to this general rule, including “where the public

corporation asserts that, if it is obliged to comply with the statute, that very compliance will force

the corporation to violate a constitutional proscription.” See Dismissal Order at 22 (quoting In re

World Trade Ctr. Lower Manhattan Disaster Site Litig. (“In re World Trade Ctr. I”), 846 F.3d 58,

60 (2d Cir. 2017)).

       The Court found that the District and Board Plaintiffs failed to meet the constitutional

proscription exception to New York’s capacity rule because they did not allege that their

compliance with Part 123 would violate the constitutional rights of school officials and employees.

Specifically, the Court found that “[a]lthough the First Amendment contains a constitutional

proscription, the only First Amendment-based claim of the School District Plaintiffs and School

Board Plaintiffs challenges Part 123 for being impermissibly broad—not for requiring them to

violate a constitutional proscription.” See Dismissal Order at 26. Thus, the Court found that an

overbreadth claim cannot satisfy the constitutional proscription exception to New York’s capacity-

to-sue rule. The Court’s decision is, therefore, the law of the case.

       The constitutional proscription exception requires a public corporation to allege that its

very compliance with a statute or regulation “will force the corporation to violate a constitutional

proscription.” See In re World Trade Ctr. I, 846 F.3d at 60. New York courts have “interpreted

constitutional . . . proscriptions to be something expressly forbidden” and have refused to find that



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the constitutional proscription exception has been satisfied where the alleged constitutional

violation is “steps removed and wholly speculative.” See Merola v. Cuomo, 427 F. Supp. 3d 286,

292 (2019) (finding county clerk failed to allege challenged statute would force him to violate the

constitutional proscription against disenfranchisement). As opposed to a violation of an “express”

constitutional proscription, the overbreadth doctrine allows plaintiffs “to challenge a statute not

because their own rights of free expression are violated, but because of a judicial prediction or

assumption that the statute’s very existence may cause others not before the court to refrain from

constitutionally protected speech or expression.” See Broadrick v. Oklahoma, 413 U.S. 601, 612

(1973) (emphasis added). Thus, any plaintiff asserting an overbreadth challenge necessarily

“claims that[,] although a statute did not violate his or her [own] First Amendment rights, it would

violate the First Amendment rights of hypothetical third parties if applied to them.” See Farrell

v. Burke, 449 F.3d 470, 498 (2d Cir. 2006) (emphasis added). Plaintiffs’ proposed overbreadth

claims are by definition “[p]remised on a concern that ‘enforcement of [Part 123] may deter or

“chill” constitutionally protected [First Amendment activity].’” See United States v. Thompson,

896 F.3d 155, 162 (2d Cir. 2018). However, the potential deterrent effect of an otherwise

constitutional regulation on hypothetical third parties is exactly the kind of “wholly speculative”

constitutional violation that New York courts have found insufficient to satisfy the narrow

constitutional proscription exception. See Merola, 427 F. Supp. 3d at 292.

       Even assuming Part 123 were overbroad, it would not require the District to violate the

constitutional proscription against curtailing free speech. To state an overbreadth claim, Plaintiffs

must show that a substantial number of Part 123’s potential applications are unconstitutional,

“judged in relation to the [regulation’s] plainly legitimate sweep.” See United States v. Stevens,

559 U.S. 460, 473 (2010). Indeed, the Supreme Court has recognized that, rather than being



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premised on a finding that the relevant statute or regulation violates the constitution, “an

overbreadth challenge by its nature assumes that the measure is constitutional as applied to the

party before the court.” See Farrell, 449 F.3d at 498. Thus, because the overbreadth doctrine by

its terms presupposes that there are circumstances where Part 123 can be applied in accordance

with the First Amendment, such a claim cannot support a finding that Part 123 expressly requires

the District and Board Plaintiffs to violate the First Amendment.

       Finally, the PAC does not remedy the deficiencies found in the Amended Complaint. First,

Plaintiffs misstate the Court’s order dismissing the District and Board Plaintiffs’ overbreadth

claims. The Court did not dismiss such claims “only because the earlier pleadings did not allege

facts triggering the ‘constitutional proscription’ exception to New York’s capacity-to-sue rule.”

See Pls.’ Mem. at 10. Rather, the Court’s dismissal was premised on the fact that “the only First

Amendment-based claim of School District Plaintiffs and School Board Plaintiffs challenges Part

123 for being impermissibly broad—not for requiring them to violate a constitutional

proscription.” See Dismissal Order at 26. As in their First Amended Complaint, the only First

Amendment-based claim asserted by the District and Board Plaintiffs in the PAC challenges Part

123 as impermissibly broad. As discussed above, the Court has already found that such a claim

cannot satisfy the constitutional proscription exception to New York’s capacity-to-sue rule.

       Second, Plaintiffs’ misread a footnote in the Dismissal Order. In this footnote, the Court

rejected Plaintiffs’ arguments that the District and Board Plaintiffs had capacity to sue based on

the individual board members First Amendment claims. See Dismissal Order at 28 n.16. The Court

clarified that no plaintiff stated a valid First Amendment challenge. See Dismissal Order at 28

n.16. The Court, however, did not state that the lack of capacity was due to those deficient

pleadings. In fact, before considering the merits of the First Amendment claims of the individual



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board members in their personal capacity, the Court had that the District and Board Plaintiffs

lacked capacity to sue for the reasons stated above. Nothing in the PAC remedies this deficiency.

As the Court recognized in its Dismissal Order, Plaintiffs fail to cite a single case holding that a

public corporation may assert a First Amendment-based overbreadth challenge to a state statute.

See Dismissal Order at 27-28. Accordingly, the District and Board Plaintiffs continue to “lack

capacity to sue for First Amendment violations and therefore cannot bring a First Amendment-

based overbreadth claim.” See Dismissal Order at 28.

       2. The District and Board Plaintiffs lack standing to assert an overbreadth or free
          speech challenge to Part 123. 7

       The District and Board Plaintiffs also lack standing to challenge Part 123 as impermissibly

overbroad. Separate and apart from questions of capacity to sue, “[c]ourts have an independent

obligation to determine whether subject-matter jurisdiction exists.” See Town of Babylon, NY v.

James, 707 F. Supp. 3d 213, 227-28 (E.D.N.Y. 2023) (referring to “[t]he irreducible constitutional

minimum of standing”). A court lacks subject-matter jurisdiction if a plaintiff cannot show

standing—i.e. that the plaintiff has a “personal stake in the outcome of the litigation.” See Soule v.

Connecticut Ass’n of Sch., Inc., 90 F.4th 34, 45 (2d Cir. 2023) (citing U.S. Const. art. III § 2). “To

establish Article III standing, a plaintiff must show ‘(i) that she suffered an injury in fact that is

concrete, particularized, and actual or imminent; (ii) that the injury was likely caused by the

defendant; and (iii) that the injury would likely be redressed by judicial relief.’” Id. (quoting

TransUnion LLC v. Ramirez, 594 U.S. 413, 423 (2021)). The “‘plaintiff ‘bears the burden of




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          According to Plaintiffs’ Memorandum of Law, the only proposed First Amendment claim
by the District and Board Plaintiffs is their proposed overbreadth claim (the first cause of action).
See Pls.’ Mem. at 1. To the extent the proposed free speech claim in their proposed third cause of
action is asserted by the District or the Board Plaintiffs, such a claim fails to satisfy the standing
requirements of Article III for the same reasons articulated in Point III(A)(2).
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alleging facts that affirmatively and plausibly suggest that he or she has standing to sue.” Id.

(quoting Calcano v. Swarovski N. Am. Ltd., 36 F.4th 68, 75 (2d Cir. 2022)).

       Although the overbreadth doctrine is an exception to the general rule against third-party

standing, in that it allows a party to argue that a statute would violate the First Amendment rights

of hypothetical third parties not before the court, a party asserting such a claim must still “satisfy

the Article III requirements of ‘injury-in-fact[.]’” Farrell, 449 F.3d at 499.To demonstrate “injury

in fact,” the District and Board Plaintiffs must establish an invasion of a legally protected interest

which is “(a) concrete and particularized and (b) actual or imminent, not conjectural or

hypothetical.” See Blakeman v. James, No. 2:24-cv-1655, 2024 WL 3201671, at *15 (E.D.N.Y.

Apr. 4, 2024). Here, the District and Board Plaintiffs cannot establish that they have suffered an

injury in fact because the District and Board Plaintiffs do not have free speech rights protected by

the First Amendment. See Dismissal Order at 27, n. 15. While some courts have recognized the

existence of limited First Amendment rights of government entities, these rights are limited to

those such as the right to lawfully petition the government; courts have uniformly held that, with

respect to freedom of speech, the only First-Amendment-based right at issue here, a government

“speaker is not itself protected by the [F]irst [A]mendment.” See Warner Cable Commc’ns, Inc. v.

City of Niceville, 911 F.2d 634, 638 (11th Cir. 1990). Given that the District and Board Plaintiffs

lack any First Amendment free speech rights, they cannot assert they have suffered any

constitutional injury due to Part 123. Thus, they lack standing to assert an overbreadth claim.




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   B. Plaintiffs’ proposed Title VI claim would not survive a motion to dismiss.

         The Court should deny leave to add a Title VI conflict preemption claim because such a

claim would not survive a motion to dismiss and, therefore, amendment would be futile. Initially,

any Title VI claim against the individual Defendants would have to be dismissed because “Title

VI does not permit a claim against an individual in his official capacity.” D.C. by Conley v.

Copiague Union Free Sch. Dist., No. 16-cv-4546, 2017 WL 3017189, at *10 (E.D.N.Y. July 11,

2017).

         Plaintiffs’ Title VI claim also would have to be dismissed for lack of standing. Plaintiffs

lack Article III standing because they “failed to meet [their] burden to plausibly allege that [they

have] suffered or will imminently suffer ‘a concrete and particularized injury that is fairly

traceable’ to the implementation of” Part 123. Kearns v. Cuomo, 415 F. Supp. 3d 319, 323

(W.D.N.Y. 2019), aff’d, 981 F.3d 200 (2d Cir. 2020). Plaintiffs do not allege, nor could they, that

they have been excluded from any program, denied a benefit, or suffered discrimination based on

their race, color, or national origin due to the adoption of Part 123.

         “To have [statutory] standing to bring a Title VI claim, the plaintiff must ‘allege that: (1)

[the defendant] received federal financial assistance, (2) [the plaintiff] was an intended beneficiary

of the program or activity receiving the assistance, and (3) [the defendant] discriminated against

[the plaintiff] on the basis of race, color, or national origin in connection with the program or

activity.’” Rodriguez v. Boursiquot, No. 09 Civ. 0802, 2010 WL 985187, at *4 (S.D.N.Y. Mar. 17,

2010) (quoting Commodari v., Long Island Univ., 89 F. Supp. 2d 353, 378 (E.D.N.Y. 2000)).

Plaintiffs cannot show that they were intended beneficiaries of Title VI because the intended

beneficiaries of Title VI are school children, not school districts, boards, or officials. Id.; see also




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Schuler v. Bd. of Educ. of Cent. Islip Union Free School Dist., No. 96-cv-4702, 2000 WL 134346,

at *10 (E.D.N.Y. Feb.1, 2000).

       Plaintiffs cannot circumvent the standing requirement by alleging that Part 123 is

preempted by Title VI. See Kearns, 415 F. Supp. 3d at 323 (finding court lacks jurisdiction over

preemption claim due to lack of plaintiff’s standing); Pistolesi v. Calabrese, No. 11 Civ. 5598,

2015 WL 1573364, at *2 (S.D.N.Y. Apr. 9, 2015) (requiring plaintiff to show Article III standing

as prerequisite to bringing its preemption claim). But even if Plaintiffs had standing, their

preemption claim fails.

       A state law may be preempted by a federal law “to the extent [the state law] actually

conflicts with federal law.” California Fed. Sav. & Loan Ass’n v. Guerra, 479 U.S. 272, 281

(1987). Such a conflict occurs: (1) where “compliance with both federal and state regulations is a

physical impossibility” or (2) where “the state law stands as an obstacle to the accomplishment

and execution of the full purposes and objectives of Congress.” Id. (internal quotation marks and

citation omitted). Neither of those circumstances can be found here.

       Title VI states: “No person in the United States shall, on the ground of race, color, or

national origin, be excluded from participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial assistance.” 42 U.S.C.

§ 2000d. To state a claim under Title VI, a plaintiff must plausibly allege that (1) “the defendant

discriminated against [it] on the basis of [national origin],” (2) the “discrimination was

intentional,” and (3) “the discrimination was a substantial or motivating factor for the defendant’s

actions.” Tolbert v. Queens College, 242 F.3d 58, 69 (2d Cir. 2001) (internal citations and

quotation marks omitted).




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          A plaintiff must allege “the events claimed to constitute intentional discrimination as well

as circumstances giving rise to a plausible inference of racially discriminatory intent.” Yzaguirre

v. KIPP NYC Pub. Charter Sch., No. 24 Civ. 1500, 2025 WL 795732, at *12 (S.D.N.Y. Feb. 7,

2025), report and recommendation adopted sub nom. Yzaguirre v. Levin, No. 24-cv-1500, 2025

WL 804771 (S.D.N.Y. Mar. 13, 2025) (internal quotation marks omitted). Plaintiffs allege neither

intentional discrimination nor circumstances giving rise to a plausible inference of discriminatory

intent.

          As to the “events claimed to constitute intentional discrimination,” Plaintiffs’ allegations

are refuted by the actual language of Part 123. Plaintiffs assert that the mandate to end the use of

Indigenous names, logos, and mascots discriminates against Indigenous peoples. Am. Compl.

¶¶ 190-192. But Part 123 does not exclude any person or group from participation in a program,

deny any person or group the benefits of that program, or discriminate against any person or group

based on race, color, or national origin. Part 123 merely restricts the use of certain mascots to

represent school sports teams. Plaintiffs’ blunt assessment ignores Part 123’s narrow focus. Part

123 has no effect whatsoever on the use of Indigenous names and imagery for classroom

instruction. Id. § 123.1. Barring the appropriation of Indigenous names and imagery for use solely

as mascots is not discrimination against Indigenous persons. Part 123 has no effect on the display

and discussion of such important symbols in the appropriate academic context.

          Plaintiffs also overstate Part 123’s provision regarding agreements with tribes. Part 123 is

intended to honor already existing agreements between districts and tribes. Id. § 123.4(b). Any

contract designed to circumvent Part 123, however, would be unenforceable. “Under New York

law, courts will not enforce contracts that are ‘illegal, against public policy, or deficient in some

other respect.’” Vidal v. Advanced Care Staffing, LLC, No. 122-cv-05535, 2023 WL 2783251, at



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*12 (E.D.N.Y. Apr. 4, 2023) (quoting 64th Assocs., L.L.C. v. Manhattan Eye, Ear & Throat Hosp.,

2 N.Y.3d 585, 589-90 (2004)); Application of Whitehaven S.F., LLC v. Spangler, 45 F. Supp. 3d

333, 344 (S.D.N.Y. 2014), aff’d 633 F. App’x 544 (2d Cir. 2015) (“Because contracts against

public policy are void, it is well-established that courts will not enforce such contracts or recognize

rights arising from them.” (internal quotation marks omitted)).

        Courts will enforce an illegal contract only in limited circumstances not present here,

where: “(1) the statutory violation is malum prohibitum; (2) the statute that renders the contract

illegal does not specifically require that all contrary contracts be rendered null and void; and (3)

the penalty imposed by voiding the contract is ‘wholly out of proportion to the requirements of

public policy.’” Schlessinger v. Valspar Corp., 686 F.3d 81, 85 (2d Cir.), certified question

accepted, 19 N.Y.3d 992 (2012), certified question answered, 21 N.Y.3d 166 (2013) (quoting

Benjamin v. Koeppel, 85 N.Y.2d 549, 553 (1995)).

        Here, the long public record of the harms caused by Indigenous mascots in ways prohibited

by Part 123 establishes that the conduct prohibited by Part 123 is malum in se, i.e., inherently

wrong. See Notice of Adoption; Cambridge Decision at 3-4, 7-18; Exs. 4-10. A contract designed

to allow a school district to use Indigenous mascots in violation of Part 123 would also violate

public policy. Accordingly, any agreement between a school district and any individual or entity,

Indigenous or non-Indigenous, would, consistent with established law, be unenforceable insofar

as it purports to violate Part 123, a valid regulation.

        Plaintiffs also fail to plead “circumstances giving rise to a plausible inference of racially

discriminatory intent.” The intent behind Part 123 is to create a discrimination-free environment

in public schools. As explained in the Notice of Adoption, the State has an interest in “providing

a safe and supportive learning environment for every child.” Notice of Adoption at 2. In adopting



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Part 123, SED relied on studies that unanimously showed that the use of Native American mascots

imposes either direct negative effects on Native Americans or the fostering of harmful stereotypes

among non-Native persons. Id. at 3. SED also relied on the New York Association of School

Psychologist’s determination that the continued use of Indigenous mascots negatively affects all

students. Id.

        Plaintiffs assert that “Indigenous groups nationwide have opposed Part 123,” but they cite

the opinion of a single not-for-profit organization, NAGA. PAC ¶ 193. Defendants, by contrast,

relied upon the overwhelming majority of Indigenous tribes, as well as educational professionals,

who support ending the use of Indigenous names and imagery for sports teams. See, e.g.

Cambridge Decision at 3-4, 7-8; Exs. 4-10. 8 And Part 123 is narrowly tailored to achieve the

compelling government interest of protecting children from the proven harms of using Indigenous-

themed mascots.

        Plaintiffs’ claim that the District will be harmed by Part 123 because of various risks and

expenses, PAC ¶ 211, has nothing to do with a Title VI claim.

    C. Plaintiffs’ proposed Title VII claim would not survive a motion to dismiss.

        Plaintiffs allege that 8 NYCRR § 123.5 violates Title VII by discriminating against

unidentified Indigenous employees of the District. PAC ¶ 215. Plaintiffs’ Title VII claim must also

be dismissed as to all individual Defendants. See, e.g., Barton v. Warren Cty.; Nathan York, No.

119-cv-1061, 2020 WL 4569465, at *11 (N.D.N.Y. Aug. 7, 2020).




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         Other publicly available statements also supported Part 123. See Official Statement on
NY Board of Regents Mascot Ban by Shinnecock Nation (Apr. 19, 2023), annexed as Ex. 13 to
Lynch Decl. The Court may take judicial notice of this document. Kramer v. Time Warner Inc.,
937 F. 2d 767, 774 (2d Cir. 1991).


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         Plaintiffs lack Article III standing to assert this claim because they do not allege any injury,

much less a “concrete and particularized injury that is fairly traceable” to the implementation of

Part 123. Kearns, 415 F. Supp. 3d at 323.

         Plaintiffs also lack statutory standing. “Title VII’s standing provision, codified at 42 U.S.C.

§ 2000e-5, authorizes civil suits by a ‘person claiming to be aggrieved by an alleged unlawful

employment practice.’” Aparicio v. Christian Union, Inc., No. 18-cv-0592, 2019 WL 1437618, at

*10 (S.D.N.Y. Mar. 29, 2019). Plaintiffs do not claim to be aggrieved by an unlawful employment

practice. Plaintiffs’ Title VII claim seeks relief on behalf of unnamed Indigenous District

employees. See PAC ¶ 225. Plaintiffs cannot circumvent the standing requirement by asserting

their Title VI claim as a preemption claim. See Kearns, 415 F. Supp. 3d at 323; Pistolesi, 2015

WL 1573364, at *2. But even if Plaintiffs had standing to assert their Title VII claim, their claim

still fails.

         To state a conflict preemption claim, Plaintiffs must show either that compliance with both

Title VII and Part 123 is a physical impossibility or that Part 123 stands as an obstacle to Congress’

purpose in enacting Title VII. California Fed. Sav. & Loan Ass’n, 479 U.S. at 281. Plaintiffs can

demonstrate neither.

         To state a claim of a violation of Title VII, a plaintiff must plead that he or she “(1) is a

member of a protected class, (2) was qualified, (3) suffered an adverse employment action, and (4)

has at least minimal support for the proposition that the employer was motivated by discriminatory

intent.” Buon v. Spindler, 65 F.4th 64, 79 (2d Cir. 2023) (internal quotation marks and alterations

omitted).

         Plaintiffs fail to plead two of these essential elements. First, assuming that the District has

any Indigenous employees, Plaintiffs fail to allege that any unidentified Indigenous District



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employee would suffer an adverse employment action if the District complies with 8 NYCRR

§ 123.5. “An adverse employment action is ‘a materially adverse change in the terms and

conditions of employment.’” Alvarado v. United Hospice, Inc., 631 F. Supp. 3d 89, 112 (S.D.N.Y.

2022) (quoting Mathirampuzha v. Potter, 548 F.3d 70, 78 (2d Cir. 2008)). A change in working

conditions is materially adverse if it is “more disruptive than a mere inconvenience or an alteration

of job responsibilities.” Id. (quoting Mathirampuzha, 548 F.3d at 78).

       Plaintiffs’ alleged adverse action—a prohibition on wearing certain apparel at school

events and on school grounds—does not meet any definition of an adverse employment action.

See Perard v. Jamaica Hosp. Med. Ctr., No. 18-cv-6661, 2020 WL 5633153, at *12 (E.D.N.Y.

Sept. 20, 2020) (“Courts in the Second Circuit have found that being asked to comply with an

employer’s dress code is generally not considered an adverse employment action.”).

       Plaintiffs also fail to plausibly plead, as they must do, that Part 123 was motivated by

discriminatory intent. As explained above, see supra, Point III(B), the public record, including

court documents, demonstrates the anti-discriminatory intent of Part 123. See Notice of Adoption

at 2-3; Cambridge Decision at 4, 7; Exs. 4-11.

       And, as with their Title VI claim, speculative claims of liability and expenses have nothing

to do with a Title VII violation, see PAC ¶ 228.

   Because 8 NYCRR § 123.5 does not violate Title VII, school districts may lawfully comply

with both Part 123 and Title VII, and Part 123 is therefore not preempted by Title VII.

   D. Plaintiffs’ proposed 42 U.S.C. § 1981 claim would not survive a motion to dismiss.

       Plaintiffs’ 42 U.S.C. § 1981 claim will not survive a motion to dismiss. First, Plaintiffs’

§ 1981 claim fails at the outset because Plaintiffs fail to satisfy the threshold requirement of

pleading their claim under 42 U.S.C. § 1983. It is well established that “42 U.S.C. § 1983 provides



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the sole cause of action available against state actors alleged to have violated § 1981.” Charles v.

City of New York, No. 21 Civ. 5567, 2023 WL 2752123, at *3 (S.D.N.Y. Mar. 31, 2023). Plaintiffs’

§ 1981 claim would, therefore, not survive a motion to dismiss.

       Even if the Court were to construe Plaintiffs’ § 1981 claim as asserted under 42 U.S.C.

§ 1983, amendment to add this claim would still be futile.

       42 U.S.C. § 1981 prohibits discrimination with respect to the enjoyment of benefits,

privileges, terms, and conditions of a contractual relationship. Patterson v. Cnty. of Oneida, N.Y.,

375 F.3d 206, 224 (2d Cir. 2004) (citing 42 U.S.C. § 1981(a) (“[a]ll persons within the jurisdiction

of the United States shall have the same right . . . to make and enforce contracts . . . as is enjoyed

by white citizens . . . .”)). To establish a violation of § 1981, a plaintiff must show that (1) the

plaintiff is a member of a racial minority; (2) the defendant intended to discriminate on the basis

of race; and (3) the discrimination concerned one or more of the activities enumerated in § 1981.

Hill v. City of New York, 136 F. Supp. 3d 304, 329–30 (E.D.N.Y. 2015), order amended and

supplemented, No. 13-cv-6147, 2019 WL 1900503 (E.D.N.Y. Apr. 29, 2019).

       As explained above, see supra Point III(B), any agreement between a school district and

any individual or entity, Indigenous or non-Indigenous, cannot be enforceable to the extent it

violates Part 123, a valid regulation. As also set forth above, the known harms caused by the use

of Indigenous mascots in ways prohibited by Part 123 establishes that a violation of Part 123 would

be malum in se, i.e., inherently wrong, not merely malum prohibitum. See Notice of Adoption;

Cambridge Decision at 3-4, 7-18; Exs. 4-12.

       And refusal to enforce an agreement purportedly allowing a school district to use

Indigenous mascots in violation of Part 123 would be entirely consistent with public policy. Id.




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       In, addition, Plaintiffs fail to plead, as they must, purposeful discrimination. It is well

established that 42 U.S.C. § 1981 “can be violated only by purposeful discrimination.” General

Bldg. Contractors Ass’n v. Pennsylvania, 458 U.S. 375, 391 (1982); see also; Albert v. Carovano,

851 F.2d 561, 571 (2d Cir. 1988).

       Plaintiffs allege no facts that could support an inference that Part 123’s purpose was to

inflict harm on Indigenous persons or nations. And the public record of Part 123 shows just the

opposite: the purpose of Part 123 is to prevent harms to both Indigenous and non-Indigenous

school children.

       In Spirit Lake Tribe of Indians ex rel. Comm. of Understanding & Respect v. Nat’l

Collegiate Athletic Ass’n, 715 F.3d 1089 (8th Cir. 2013), the Eighth Circuit held that the plaintiffs

failed to show discriminatory intent on the part of the National Collegiate Athletic Association

(“NCAA”) based on its prohibition on the display of Native American mascots, nicknames, and

images at championship events, including the University of North Dakota’s use of the “Fighting

Sioux” nickname and imagery. Id. at 1092. The NCAA’s stated motivation was to eliminate

“hostile and abusive” mascots and imagery, but it agreed to allow continued use of the name if

both the Spirit Lake and Standing Rock tribes approved. Id. The Standing Rock Tribe did not,

which prevented certain mascots, nicknames, and imagery from being displayed at NCAA

championships. Id. In response to a claim that this constituted discrimination, the Eight Circuit

held that “[t]here is no evidence that the NCAA enacted the policy in order to eradicate Sioux

culture,” as alleged. Id. at 1093. The same reasoning applies here. 9




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         Although Spirit Lake involved a 42 U.S.C. § 1981 claim, the court ruled that there was
no enforceable contract. 715 F.3d at 1093.
                                                 22
       Because Plaintiffs fail to state a claim of a violation of 42 U.S.C. § 1981, they should not

be granted leave to add a preemption claim based on § 1981.

   E. Plaintiffs’ dormant Commerce Clause claim would not survive a motion to dismiss.

       Plaintiffs’ claim that Part 123 violates the dormant Commerce Clause would not survive a

motion to dismiss.

       The dormant Commerce Clause prohibits state regulation “that discriminates against or

unduly burdens interstate commerce and thereby impedes free private trade in the national

marketplace.” Gen. Motors Corp. v. Tracy, 519 U.S. 278, 287 (1997) (internal quotation marks

and alteration omitted)).

       To state a claim for “discrimination in violation of the Commerce Clause, a plaintiff must

identify an in-state commercial interest that is favored, directly or indirectly, by the challenged

statutes at the expense of out-of-state competitors.” Selevan v. New York Thruway Auth., 584 F.3d

82, 95 (2d Cir. 2009) (internal quotation marks and alteration omitted). “Both an in-state interest

and an out-of-state competitor are necessary because laws that draw distinctions between entities

that are not competitors do not discriminate for purposes of the dormant Commerce Clause.” Id.

(internal quotation marks omitted).

       Courts examining dormant Commerce Clause claims first ask “whether the challenged law

[1] discriminates against interstate commerce, or [2] regulates evenhandedly with only incidental

effects on interstate commerce.” New York Pet Welfare Ass’n, Inc. v. City of New York, 850 F.3d

79, 89 (2d Cir. 2017) (internal quotation marks omitted). Plaintiffs’ proposed dormant Commerce

Clause claim, which is premised solely on 8 NYCRR § 123.4(b), see PAC ¶¶ 251-256, fails to

allege that section 123.4(b) either discriminates against or has an incidental effect on interstate

commerce.



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       Plaintiffs’ dormant Commerce Clause claim fails at the outset because they identify neither

a competitive in-state market nor a competitive out-of-state market for Indigenous names and

imagery. See Selevan, 584 F.3d at 95. A law that affects no competitive market does not

“discriminate” for purposes of the dormant Commerce Clause, because “in the absence of actual

or prospective competition between the supposedly favored and disfavored entities in a single

market there can be no local preference.” Gen. Motors Corp., 519 U.S. at 300.

       Even if Plaintiffs could show that section 123.4(b) discriminates against out-of-state

commerce, they still fail to allege a dormant Commerce Clause violation. A purportedly

discriminatory law will not violate the dormant Commerce Clause “if the state shows [the law is]

‘demonstrably justified by a valid factor unrelated to economic protectionism.’” New York Pet

Welfare Ass’n, 850 F.3d at 89 (quoting Wyoming v. Oklahoma, 502 U.S. 437, 454 (1992)). Part

123 is “demonstrably justified” by its anti-discriminatory purpose. See Notice of Adoption at 2-3;

Cambridge Decision at 4, 7. This State interest has nothing to do with economic protectionism.

       Nor do Plaintiffs plead a dormant Commerce Claim if they allege that Part 123 has an

incidental effect on out-of-state Indigenous persons or nations. Courts “will uphold a

nondiscriminatory law unless the challenger shows that ‘the burden imposed on [interstate]

commerce is clearly excessive in relation to the putative local benefits.’” New York Pet Welfare,

850 F.3d at 90 (quoting Pike v. Brice Church, 397 U.S. 137, 142 (1970)). Plaintiffs come nowhere

near plausibly alleging that any burden imposed upon the non-existent competitive market is

“clearly excessive” in relation to the proven benefits of Part 123.

       Plaintiffs also allege that Part 123 could expose them to risks of legal liability and

implementation costs, PAC ¶¶ 257, 258, but they fail to allege how these purported risks and costs

relate in any way to interstate commerce.



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        Because Plaintiffs’ dormant Commerce Clause claim would not survive a motion to

dismiss, Plaintiffs should not be granted leave to add this claim.

    F. Plaintiffs’ Indian Commerce Clause claim would not survive a motion to dismiss.

        Plaintiffs allege no facts that would establish their standing to assert a claim under the

Indian Commerce Clause or that Part 123 in any way regulates commerce with tribes or otherwise

relates to “Indian affairs.”

        The Indian Commerce Clause provides that “Congress shall have Power . . . [t]o regulate

Commerce . . . with the Indian Tribes.” U.S. const. art. I, § 8, cl. 3. “‘[T]he central function of the

Indian Commerce Clause is to provide Congress with plenary power to legislate in the field of

Indian affairs.’” Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 173 (2d Cir. 2005)

(quoting Cotton Petroleum Corp. v. New Mexico, 490 U.S. 163, 192 (1989)). “[T]he Indian

Commerce Clause’s grant of authority to the federal government, and preemption of state

authority, extends only to activities occurring in ‘Indian country,’ i.e., Indian lands within the

territory of the United States.” Id.

        Part 123 regulates the conduct of public school districts within New York State. See, e.g.,

8 NYCRR § 123.2 (prohibiting use of Indigenous names and imagery by “public school[s] in the

State of New York . . . other than for purposes of classroom instruction”). As with their other

proposed causes of action, Plaintiffs misstate the scope of section 123.4(b), which permits a school

district to use an Indigenous team name, logo, or mascot if it has a pre-existing contract with a

recognized New York tribe. 8 NYCRR § 123.4(b).

        To the extent § 123.4(b) affects any contract with Indigenous persons, it still does not

violate the Indian Commerce Clause. Native Americans transacting business outside of

reservations are subject to state regulation. Grand River Enters., 425 F.3d at 174; Mescalero



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Apache Tribe v. Jones, 411 U.S. 145, 148–49 (1973) (“Absent express federal law to the contrary,

Indians going beyond reservation boundaries have generally been held subject to non-

discriminatory state law otherwise applicable to all citizens of the State.”); id. at 148 (“[E]ven on

reservations, state laws may be applied unless such application would interfere with reservation

self-government or would impair a right granted or reserved by federal law.”).

       In examining an Indian Commerce Clause challenge to a state regulation, courts in the

Second Circuit consider two criteria: “the location of the targeted conduct and the citizenship of

the participants in that activity.” Otoe-Missouria Tribe of Indians v. New York State Dep’t of Fin.

Servs., 769 F.3d 105 (2d Cir. 2014). Once a state law “reaches across a reservations borders,”

courts weigh the interests of the tribe, the federal government, and the State.” Id. at 113. A State’s

interest becomes stronger “if ‘the conduct of non-Indians’ is in question.” Id. (quoting Mescalero

Apache Tribe, 411 U.S. at 144). In addition to the location and the citizenship of those affected by

a state law, “a court must still understand ‘what’ a regulation targets to weigh interests

appropriately.” Id. A tribe’s interest peaks when a regulation threatens a venture in which the tribe

has invested significant resources.” Id. “In contrast, a tribe has no legitimate interest in selling an

opportunity to evade state law.” Id. at 114.

       In Otoa-Missouria Tribe, the Second Circuit affirmed the district court’s conclusion that

plaintiffs, tribes that operate payday lending sites, failed to show they were likely to succeed on

their challenge to New York State’s anti-usury laws. 769 F.3d at 112-118. The Second Circuit

agreed that the plaintiffs failed to show that the payday loan agreements were on-reservation

activity. Id. at 116-117.

       Here, a contract between a public school district in New York State and an Indigenous

nation or individual purportedly allowing the school district to use Indigenous names and imagery



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would not involve conduct occurring on tribal lands. Part 123 applies solely to New York State

public school districts. See generally Part 123. Thus, the location and citizenships inquiries show

that any contract purportedly allowing use of Indigenous names and imagery by a New York State

school district would be an off-reservation activity.

       An examination of competing interests also eliminates any possibility that Part 123 violates

the Indian Commerce Clause. Plaintiffs make only conclusory allegations that Part 123 interferes

with tribal sovereignty. See PAC ¶¶ 271-272. But Plaintiffs do not identify any tribal interest at

stake. Plaintiffs do not so much as suggest that any Indigenous nation has “invested significant

resources” in developing agreements with school districts for use of Indigenous names and

imagery. To the contrary, the majority of Tribes and others representing tribal interests have stated

that the use of such names and imagery would be harmful to their interests. See, e.g., Cambridge

Decision at 3-4, 8; Exs. 4-9, 12.

       Plaintiffs say nothing about the State interest in providing a safe and discrimination-free

environment for all school children, or the interest in protecting both Indigenous and non-

Indigenous students from the harms of Indigenous mascots. See Notice of Adoption at 2-3. These

interests are no less strong than the State’s interest in reducing exploitative payday loans at issue

in Otoe-Missouria Tribe, which the court described as a “paradigmatic example of governmental

action taken in the public interest.” 769 F.3d at 110 (internal quotation marks omitted).

       Plaintiffs fail to state a claim that Part 123, which involves conduct in New York State and

furthers the public interest of protecting school children in New York State, and involves no

competing interest of any Indigenous nation, is preempted by the Indian Commerce Clause.




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   G. Plaintiffs’ Bill of Attainder Clause claim would not survive a motion to dismiss.

       Plaintiffs’ proposed new claim that Part 123 violates the state Bill of Attainder clause

would not survive a motion to dismiss.

       The Constitution prohibits the enactments of “bills of attainder.” See U.S. Const. art. I, § 9

(prohibiting Congress); id. § 10 (prohibiting states). “[T]he Supreme Court has identified three

elements of an unconstitutional bill of attainder: (1) ‘specification of the affected persons,’ (2)

‘punishment,’ and (3) ‘lack of a judicial trial.’” ACORN v. United States, 618 F.3d 125, 136 (2d

Cir. 2010) (quoting Selective Serv. Sys. v. Minn. Pub. Interest Research Grp., 468 U.S. 841, 846–

47 (1984)). In addition, a law can be a bill of attainder only if it focuses on past conduct. See, e.g.,

Selective Serv., 468 U.S. at 847.

   1. Part 123 is not retrospective.

       The Second Circuit has explained that “[a]nother indispensable element of a bill of

attainder is its retrospective focus.” Consol. Edison Co. of New York v. Pataki, 292 F.3d 338, 349

(2d Cir. 2002). A bill of attainder “defines past conduct as wrongdoing and then imposes

punishment on that past conduct.” Id. The Bill of Attainder clauses “‘intended that the rights of

the citizen should be secure against deprivation for past conduct by legislative enactment.’” Matter

of Extradition of McMullen, 989 F.2d 603, 607 (2d Cir. 1993) (quoting Cummings v. Missouri, 71

U.S. (4 Wall.) 277, 18 L. Ed. 356, 366 (1867)); see Selective Serv., 468 U.S. at 847 (making clear

that bills of attainder only involve “past conduct” or “past activity”).

       Part 123 by its express terms imposes only prospective restrictions on certain future

conduct, and Plaintiffs do not allege otherwise. Part 123, which was adopted on May 3, 2023,

directs school districts to eliminate the use of Indigenous names, logos, and mascots for their




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school teams by the close of the 2024-2025 school year. 8 NYCRR § 123.3(a). Part 123 also

permits, for good cause shown, extensions of that deadline. Id. § 123.3(b).

    2. Part 123 does not specify persons.

        Part 123 is not a bill of attainder because it does not specify persons. Part 123 applies

equally to all public school districts throughout New York, whether or not they currently use

Indigenous names or imagery and whether or not they have done so in the past. 8 NYCRR § 123.2

(“Except as provided in section 123.4 of this Part, no public school in the State of New York may

utilize or display an Indigenous name, logo, or mascot other than for purposes of classroom

instruction.”).

    3. Part 123 does not impose punishment, and the lack of a judicial trial is therefore
       irrelevant.

        Part 123 also does not impose punishment. Plaintiffs’ conclusory allegations that Part 123

is punitive, see PAC ¶¶ 284, 289, do not withstand the most cursory examination. Three factors

guide courts’ consideration of whether a law inflicts a punishment: “(1) whether the challenged

statute falls within the historical meaning of legislative punishment (historical test of punishment);

(2) whether the statute, ‘viewed in terms of the type and severity of burdens imposed, reasonably

can be said to further nonpunitive legislative purposes’ (functional test of punishment); and (3)

whether the legislative record ‘evinces a [legislative] intent to punish’ (motivational test of

punishment).” ACORN, 618 F.3d at 136 (quoting Selective Serv. Sys., 468 U.S. at 852).

        Any potential penalties for non-compliance with Part 123, which are removal of board

members and withholding of funding, see N.Y. Educ. L. § 306(2), are not historical punishments

because they do “not constitute a traditional form of punishment that is ‘considered to be punitive

per se,” ACORN, 618 F.3d at 137; see also Nixon v. Administrator of General Services, 422 U.S.

425, 474 (1977) (identifying death, imprisonment, banishment, confiscation of property, and

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exclusion of designated groups from employments or vocations). In ACORN, the Second Circuit

held that congressional withholding of appropriations based on past conduct was not punitive

under the historical test. Under ACORN’s reasoning, withholding of funding or removal of a board

member for prospectively prohibited conduct—for which school districts had two years’ notice to

comply—could not be considered historically punitive.

       Part 123 is not functionally punitive because it serves a non-punitive public purpose. The

Notice of Adoption and the court’s opinion in Cambridge set forth in detail the non-punitive

purpose of Part 123. See Notice of Adoption at 2-3; Cambridge Decision at 4, 7.

       As for the motivational test of punishment, Plaintiffs make no allegation that Part 123 was

motivated by punitive intent. Nor could they plausibly make such an allegation. The public record

is devoid of evidence that Part 123 was motivated by punitive intent and instead demonstrates the

anti-discriminatory intent of Part 123. See Notice of Adoption at 2-3; Cambridge Decision at 4-7.

       Because Plaintiffs’ claim that Part 123 violates the State Bill of Attainder Clause could not

survive a motion to dismiss, the Court should deny Plaintiffs motion for leave to add this

groundless claim.

                                         CONCLUSION

       Defendants respectfully request that the Court deny Plaintiffs’ motion, in its entirety and

with prejudice, and grant such other and further relief that the Court deems just and equitable.

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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

       The undersigned, an attorney duly admitted to practice before this court, hereby certifies

that the foregoing Memorandum of Law in Opposition to Motion for Leave to Amend

(“Memorandum of Law”) complies with Rule 7.1(c) of the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York, which acknowledges that a

court may grant leave for an enlargement of the 8,750 word-count limit set forth therein. By Docket

Order dated June 26, 2025, the Court granted leave for an enlargement, of up to 10,000 words, of

the word-count limit for the foregoing Memorandum of Law. The Memorandum of Law contains

9,812 words, as counted by the word processing system used to prepare it. This word count

excludes the caption, tables, signature block, and this Certificate, but includes all headings and

footnotes.

 Dated: Mineola, New York                      Helena Lynch___________
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